EXHIBIT 2
                                                                                       RECEIVED
                                                                                     JUN O2-2021
                                 NOTICE OF TERMINATION
                                                                                   ALAN BRAVERMAN
                                        "SPIDER-MAN"



 To:   Marvel Ente1iainment, LLC                        Marvel Studios, LLC
       Marvel Worldwide, Inc.                           MVL Rights, LLC
       Marvel Prope11y, Inc.                            MVL Development, LLC
       Marvel Characters, Inc.                          Marvel Characters, Inc.
       1290 Avenue of the Americas                      500 South Buena Vi sta Street
       New York, NY 10104                               Burbank, CA 9152 1
       Attn: John Turitzin, Chief Counsel               Attn: David Galluzzi , Chief Counsel
             Eli Bard, Deputy Chief Counsel

       T he Walt Disney Company                         Marvel Animation Inc.
       500 South Buena Vista Street                     623 Circle Seven Drive
       Burbank, CA 91521                                Glendale, CA 91201
       Attn: Alan Braverman, General Counsel            Attn: Legal Department




       PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

Act ( 17 U .S .C. § 304( c )) and the regulations issued thereunder by the Register of Copyrights, 37

C.F.R.§20 1.10, Patrick S. Ditko, Administrator of the Estate of Stephen J. Ditko, being the person

entitled to terminate copyright transfers pursuant to said statutory provisions, hereby terminates

all pre-January 1, 1978 exclusive or non-exc.lusive grants of the transfer or license of the renewal

copyright(s) in and to the illustrated comic book story published in "Amazing Fantasy Vol. l , No.

15," authored or co-authored by Stephen J. Ditko (a.k.a. Steve Ditko), and sets forth in connection

therewith the following:

        1.     The names and addresses of the grantees and/or successors in title whose rights are

being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel C haracters, Inc. , 500

South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena
Vista Street, Burbank, CA 9152 l ; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

CA 91201. Pursuant to 3 7 C .F .R. Section 20 l. 10( d), service of thi s notice is being made by First

Class Mail , postage pre-paid to the above grantees or successors at the addresses shown.

        2.       The copyrighted work (the '·Work") to which this Notice of Termination applies is

the illustrated comic book story published and embodied in "Amazing Fantasy Vol. 1, No. 15,"

w hich was authored or co-authored by Stephen J. Ditko (a.k.a. Steve Ditko), 1 and registered with

the U.S. Copyright Office by Atlas Magazines, Inc. on June 5, 1962 under Copyright Registration

No. B976775, renewed on November 20, 1990 under Copyright Renewal Registration No.

RE0000497761, and includes all the characters, story elements, and/or indicia appearing therein. 2

        3.       The grant and/or transfer to which this Notice of Termination applies is made in

that cettain copyright assignment(s) on the back of the check(s) issued by Marvel Entertainment,

LLC's predecessor company to Stephen J. Ditko with respect to the above-listed Work, which was




        1
           This Notice of Termination also applies to all material authored or co-authored by Stephen J.
Ditko (in any and al l medium(s), whenever created) that was reasonably associated with ''Amazing Fantasy
Vol. l , No. 15," and was registered with the United States Copyright Office and/or published within the
tennination time window, as defined by 17 U.S.C. § 304(c) and the effective date of this Notice of
Termination. This Notice of Termination likewise includes or em bod ies any character, story element, or
indicia reasonably assoc iated with "Amazing Fantasy Vol. I, No. 15,'" including, without limitation, Spider-
Man (a.k.a. Peter Parker), Bluebird (a.k.a. Sally Avril), Uncle Ben (Parker), The Burglar, Aunt May
(Parker), Liz Allan, Raymond Warren, Bernard O' Brien, Seymour O'Reilly, Jess ica Jones, Eric Schwinner,
Crusher Hogan, Max Shiffman, Chet Huntley, Baxter Bigelow, and Flash Thompson. Every reasonable
effort has been made to find and list herein all such material. Neve1iheless, if any such material has been
omitted, such omission is unintentional and involuntary, and this Notice also applies to each and every such
omitted material.
        2
          Pursuant to 37 C.F. R. §20 1.1 0(b)( I )(iii), this Notice of Termination includes the name of at least
one author of the Work to which this Notice of Termination applies. The listing here in of any corporation
as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
any right or remedy that Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, 111 ight have,
ar law or in equity, with respect to the subj ect matter hereof, all of which is hereby expressly reserved.

                                                       2
dated on or about the time of the respective publication of such Work. 3

        4.      The effective date of termination shall be May 29, 2023.

        5.       Stephen J. Ditko died on June 29, 2018, with no surviving spouse, children or

grandchildren. As such, Patrick S. Ditko, as Administrator of the Estate of Stephen J. Ditko, owns

the termination interest of Stephen J. Ditko pursuant to 17 U.S.C. § 304(c)(2)(D), and is the person

entitled to exercise the termination right as to the grant(s) identified herein. This Notice has been

signed by all persons needed to terminate said grant(s) under 17 U.S.C. § 304(c).


Dated: May 28, 2021                                   TOBEROFF & ASSOCIATES, P.C.



                                                       Marc Toberoff

                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, California 90265
                                                       Tel: (310) 246-3333
                                                      As counsel for and on behalf of Patrick S. Ditko,
                                                      Administrator of the Estate of Stephen J. Ditko




        3
          This Notice of Termination also applies to each and every grant or alleged grant by Stephen J.
Ditko of rights under copyright in and to the Work that falls within the applicable term ination time window
(defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effot1
has been made to find and list herein every such grant and/or transfer. Neve11heless, if any such grant and/or
transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
applies as wel l to each and every such omitted grant and/or transfer.
                                                      ,,
                                                      .J
                                 CERTIFICATE OF SERVICE

       I hereby certify that I caused a true copy of the foregoing document described as

NOTICE OF TERMINATION to be served this 28 th day of May, 2021 , by First Class Mail,

postage prepaid, upon each of the following:

      Marvel Entertainment, LLC                         Marvel Studios, LLC
      Marvel Worldwide, Inc.                            MVL Rights, LLC
      Marvel Property, Inc.                             MVL Development, LLC
      Marvel Characters, Inc.                           Marvel Characters, Inc.
      1290 Avenue of the Americas                       500 South Buena V ista Street
      New York, NY 10104                                Burbank, CA 91521
      Attn: John Turitzin, Chief Counsel                Attn: David Galluzzi, Chief Counsel
            E li Bard, Deputy Chief Counsel

      The Walt D isney Company                          Marvel Animation Inc.
      500 South Buena Vista Street                      623 Circle Seven Drive
      Burbank, CA 91521                                 Glendale, CA 91201
      Attn: Alan Braverman, General Counsel             Attn: Legal Department



       I declare under penalty of perjury that the forego ing is true and correct. Executed this 28 th

day of May, 2021, at Malibu, California.




                                               Breck Kadaba
                                               Toberoff & Associates, P.C.
                                               23823 Malibu Road, Suite 50-363
                                               Malibu, California 90265

                                               Counsel for Patrick S. Ditko ,
                                               Administrator of the Estate of Stephen J. Ditko




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